
211 Md. 621 (1956)
125 A.2d 672
WILLIAMS
v.
WARDEN OF MARYLAND PENITENTIARY
[H.C. No. 32, October Term, 1956.]
Court of Appeals of Maryland.
Decided October 9, 1956.
Before BRUNE, C.J., and COLLINS, HENDERSON and HAMMOND, JJ.
HENDERSON, J., delivered the opinion of the Court.
This is an application for leave to appeal from the denial of a writ of habeas corpus. Petitioner was convicted on July 27, 1953, of larceny and housebreaking and sentenced to five years in the Penitentiary. He complains that the trial court made "disparaging remarks" in charging the jury, and there was insufficient evidence to convict him. As we have repeatedly said, it is not the function of a court, on application for habeas corpus, to review alleged errors or irregularities, which can be reviewed on appeal, and do not go to the fundamental jurisdiction to try the accused. Nor can the question of jail time, as a credit against sentence, be reviewed in such a proceeding. The whole matter is within the discretion of the judge imposing sentence. See Agner v. Warden, 203 Md. 665.
Application denied, with costs.
